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1    McGREGOR W. SCOTT
     United States Attorney
2    KENNETH J. MELIKIAN
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, Ca. 95814
4    Telephone: (916) 554-2700
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7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )         CR. NO. S-05-106 GEB
                                    )
12                  Plaintiff,      )
                                    )         STIPULATION; ORDER
13        v.                        )
                                    )
14   LEONARD WILLIAMS,              )
                                    )
15                                  )
                    Defendant.      )
16   _______________________________)
17         Defendant Leonard Williams, through Robert M. Holley,
18   Attorney At Law, and the United States of America, through
19   Assistant U.S. Attorney Kenneth J. Melikian, agree to vacate the
20   status conference scheduled for May 4, 2007.         The parties further
21   stipulate that a status conference be placed on the court’s
22   May 18, 2007, calendar.
23         The parties are very near a disposition in this case, but
24   because of the prosecutor’s current involvement in a lengthy
25   trial, the parties have not be able to finalize all details. It
26   is anticipated that they will be able to do so if given two
27   additional weeks.
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1         Accordingly, the parties request that the status conference
2    in this case be continued to May 18, 2007.           All parties    agree
3    that time should be excluded through May 18, 2007, from
4    computation under the Speedy Trial Act pursuant to local code T4
5    (18 U.S.C. § 3161(h)(8)(B)(iv)) in order to afford the defendant
6    reasonable time to prepare his case.
7    DATED: May 3, 2007                    Respectfully submitted,
8                                          McGREGOR W. SCOTT
                                           United States Attorney
9
10
                                        By:/s/ Kenneth J. Melikian
11                                         KENNETH J. MELIKIAN
                                           Assistant U.S. Attorney
12
13
14   DATED: May 3, 2007                    /s/ Kenneth J. Melikian _____
                                           ROBERT M. HOLLEY
15                                         Attorney for Defendant Leonard
                                           Williams
16                                         (Signed by Kenneth J. Melikian
                                           per authorization by Robert M.
17                                         Holley)
18
19
20        IT IS SO ORDERED.
21   Dated:    May 4, 2007
22
23                                    GARLAND E. BURRELL, JR.
24                                    United States District Judge

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